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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA

 SAMANTHA WILLIAMS,                  )
                                     )
       Plaintiff,                    )
                                     )
 VS.                                 )
                                     )                NO.: 21-CV-00017-DCJ-JPM
 D’ARGENT FRANCHISING, LLC,          )
 D’ARGENT CONSTRUCTION, LLC, )
 D’ARGENT COMPANIES, LLC,            )
 JUSTIN GIALLONARDO, and             )
 XYZ INSURANCE CO.                   )
                                     )
       Defendants.                   )
 ____________________________________)

          DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
                          PLAINTIFF’S COMPLAINT

          Defendants, D’Argent Franchising, LLC (“D’Argent Franchising”), D’Argent Companies,

 LLC (“D’Argent Companies”), D’Argent Construction, LLC (“D’Argent Construction”)

 (collectively, the “LLC Defendants”) and Justin Giallonardo (collectively, “Defendants”) submit

 this Reply in response to Plaintiff Samantha Williams’ (“Plaintiff”) Opposition to Defendants’

 Motion to Dismiss Plaintiff’s Complaint (the “Opposition”).1 Defendants reassert the arguments

 made in their Motion to Dismiss and incorporate the case law cited therein in this Reply.2

          In addition to the instant motion, two further related motions are pending before this Court:

 (i) Plaintiff’s Motion for Leave to File Amended Complaint (the “Motion for Leave to Amend”),

 filed February 23, 2021 (Defendants’ Opposition filed March 9, 2021)3; and (ii) Defendants’ Rule

 12(f) Motion to Strike Portions of Plaintiff’s Complaint (the “Motion to Strike”), filed as a




 1
   Dkts. 7, 19.
 2
   See generally Dkt. 7.
 3
   Dkts. 16, 23.
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 proposed pleading to Defendants’ Motion to File Under Seal on March 9, 2021.4 While each of

 these motions is procedurally distinct from the others, they all concern the same problem—that

 Plaintiff has filed an over-long Amended Complaint riddled with salacious and unproven

 allegations that have no bearing whatsoever on the Plaintiff’s own allegations.

          As to the instant motion, Plaintiff asserts only two arguments in opposition to Defendants’

 Motion to Dismiss and uses her proposed amended complaint (the “proposed SAC”) as a fallback

 to bolster one argument. But even if the Court considers the proposed SAC when deciding the

 three motions pending in this case (which it should not, as that amendment is futile, as set forth

 further in Defendant’s Opposition to Plaintiff’s Motion to Amend)5, Plaintiff’s claims still fail and

 must be dismissed pursuant to Federal Rules of Civil Procedure 8 and 12(b)(6).

 I.       LEGAL STANDARD

          Defendants have already stated in detail the general rules of pleading outlined in Rule 8 of

 the Federal Rules of Civil Procedure and incorporate that explanation herein by reference.6 To

 survive a Rule 12(b)(6) motion to dismiss, a Plaintiff must “provide the grounds of his entitlement

 to relief,” including “enough facts to state a claim to relief that is plausible on its face.”7 A

 complaint must contain plausible factual allegations that demonstrate something more than the

 “sheer possibility that a defendant has acted unlawfully.”8 In other words, there “must be enough

 to raise a right to relief above the speculative level . . . on the assumption that all the allegations in

 the complaint are true (even if doubtful in fact).”9 Although this Court must accept Plaintiff’s

 factual allegations as true, this requirement does not apply where, as here, “legal conclusion[s]


 4
   Dkts. 16, 24.
 5
   Dkt. 23.
 6
   Dkt. 7-1 at pp. 8-9.
 7
   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).
 8
   Ashcroft v. Iqbal, 556 U.S. at 668 (2009).
 9
   Twombly, 550 U.S. at 555. (“[T]he pleading must contain something more . . . than . . . a statement of facts that
 merely creates a suspicion [of] a legally cognizable right of action.”).

                                                           2
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 [are] couched as factual allegation[s].”10 The Court need not “accept as true conclusory allegations,

 unwarranted factual inferences, or legal conclusions.”11

 II.      ARGUMENT12

       A. Plaintiff Has Not and Cannot Demonstrate that D’Argent Construction, D’Argent
          Companies and D’Argent Franchising Are a “Single Employer.”

          As Defendants argue in their Motion to Dismiss, Plaintiff has failed to adequately plead an

 employment relationship with D’Argent Construction or D’Argent Companies so as to state LEDL

 or Title VII claims against them. Plaintiff cites zero case law to support her argument that

 Defendants’ Motion to Dismiss should be denied because “the complaint contains facts about

 D’Argent’s status as an integrated enterprise.”13 The only case citation in this section of Plaintiff’s

 Opposition is a reference to the Trevino v. Celanese Corp. case cited by Defendants in their Motion

 to Dismiss to establish the factors that courts consider when determining whether distinct entities

 constitute an integrated enterprise for purposes of a Title VII employer analysis.14 Plaintiff notes,

 as Defendants did in their Motion to Dismiss, that the Fifth Circuit focuses on the “centralized

 control of labor relations” prong of the four-factor test, but Plaintiff fails to go the extra mile in

 her analysis because she does not consider or provide evidence regarding which “entity made the

 final decisions regarding employment matters related to” her.15



 10
    Iqbal, 556 U.S. at 678.
 11
    Cent. Laborers’ Pension Fund v. Integrated Elec. Servs., Inc., 497 F.3d 546, 550 (5th Cir. 2007).
 12
    Plaintiff asserts the following causes of action against Defendants in the operative complaint (the “FAC”), Dkt. 5,
 and the proposed SAC, Dkt. 16-3: (i) gender discrimination in the form of a hostile workplace and sexual harassment
 in violation of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000 et seq.; (ii) gender
 discrimination in the form of a hostile workplace and sexual harassment in violation of the Louisiana Employment
 Discrimination Law (“LEDL”), La. R.S. § 23:332(A)(1); (iii) intentional infliction of emotional distress; and (iv)
 intentional spoliation and witness intimidation.
 13
    Dkt. 19 at pp. 3-4.
 14
    Dkt. 7-1 at p. 12 (citing Trevino v. Celanese Corp., 701 F.2d 397, 403 (5th Cir. 1983) (noting that courts consider
 the following factors in determining whether distinct entities constitute an integrated enterprise: (1) interrelation of
 operations; (2) centralized control of labor relations; (3) common management; and (4) common ownership or
 financial control.”)).
 15
    Id. (citing Trevino, 701 F.2d at 407).

                                                            3
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         Plaintiff instead points to allegations in the FAC of “centralized control” by Justin

 Giallonardo of the LLC Defendants and the email domain of a former employee,

 RichardM@dargentcompanies.com as evidence that the three distinct LLCs operated as one

 enterprise.16 These conclusory, barebones allegations are wholly inadequate to establish that

 D’Argent Construction or D’Argent Companies were her employers or that they are an integrated

 enterprise with D’Argent Franchising, which Plaintiff essentially acknowledges by offering an

 alternative argument in her Opposition.17 Plaintiff attempts to cure the pleading defects

 peremptorily in her FAC, in an attempt to circumvent a Rule 12(b)(6) dismissal, by referencing

 allegations in her proposed SAC.18 As Defendants note in their opposition to Plaintiff’s Motion

 for Leave to Amend, these proposed amendments are futile because they will not save her claims

 from dismissal.19 “The existence of an integrated enterprise should not be lightly inferred.”20 In

 the parent-subsidiary context, for example, the “analysis ultimately focuses on whether the parent

 corporation was a final decision-maker in connection with the employment matters underlying the

 litigation.”21 Plaintiff’s employer was D’Argent Franchising, and Plaintiff has not and cannot show

 that either D’Argent Construction or D’Argent Companies made the final decision with respect to

 her employment. This is especially true as, according to her own allegations, Plaintiff resigned.22

      B. Alleged Statements of Unidentified Individuals and Alleged Tweets by Thomas
         Giallonardo III Are Immaterial to Plaintiff’s Claims and Will Not Save them from
         Dismissal.

         Plaintiff mischaracterizes Defendants’ Motion to Dismiss and completely ignores the

 larger purpose of Defendants’ Rule 8 arguments—i.e., impermissible group pleadings result in a


 16
    Dkt. 19 at p. 3.
 17
    Id. at p. 3-4.
 18
    Dkt. 19 at pp. 3-4.
 19
    Dkt. 23.
 20
    Richardson v. Stadtman, 1998 U.S. Dist. LEXIS 17893, at *6 (N.D. Tex. Nov. 9, 1998).
 21
    Lusk v. Foxmeyer Health Corp., 129 F.3d 773, 777 (5th Cir. 1997).
 22
    Dkt. 5 at ¶ 9.

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 lack of proper notice of the specific claims that Plaintiff asserts against each LLC Defendant; and

 Plaintiff’s failure to adhere to Rule 8’s requirement of a short and plain statement at this early stage

 of litigation has led to inflammatory allegations and unclear pleadings that will derail efficient

 discovery and case management before the case has truly begun.23 Defendants reassert their

 Motion to Dismiss argument that Plaintiff violates Fed. R. Civ. P. 8 by including hearsay

 statements that impermissibly lump together the LLC Defendants because the statements do not

 put Defendants on notice of the allegations against each entity and do not once mention Plaintiff.24

 Further, the statements appear “to have been attached to the Complaint in an effort to obtain further

 publicity, an inappropriate use of the court’s public records.”25

          Defendants have already requested that this Court strike Paragraphs 12 to 14 and 90 to 147

 of the FAC, or, in the alternative, the SAC.26 These allegations are entirely hearsay, and further do

 not concern or describe any events at the Huddle House -- the actual workplace where Plaintiff

 worked. Many of them concern an entirely different individual (Thomas Giallonardo) who is not

 a Defendant in this matter and not accused of harassing Plaintiff at all. At least one court has

 stricken hearsay statements from a complaint because they were “scandalous [and] unnecessary to

 the Complaint” and could otherwise be established “within the parameters of the case itself and in

 accordance with discovery procedures established by the Federal Rules of Civil Procedure.”27 And

 contrary to Plaintiff’s assertion that these alleged statements were included to corroborate

 Plaintiff’s allegations, “[t]he Fifth Circuit requires that a plaintiff must specifically identify the


 23
    See Dkt. 7-1 at pp. 13-16.
 24
    See Dkt. 5 at ¶¶ 12-14, 90-147; Dkt. 7-1 at p. 16; see La. Crawfish Producers Ass’n – W. v. Amerada Hess Corp.,
 No. 6:10-0348, 2015 U.S. Dist. LEXIS 154660, 2015 WL 7162602, at *15 (W.D. La. Oct. 20, 2015) (finding in the
 absence of “specific and particularized allegations against each defendant, [plaintiffs] have not satisfied the pleading
 requirements of Rule 8, FRCP, Bell or Iqbal [].”.
 25
    Papagolos v. Lafayette Cty. Sch. Dist., No. 3:11CV158-D-A, 2012 U.S. Dist. LEXIS 205848, at *4 (N.D. Miss.
 Apr. 23, 2012).
 26
    Dkt. 5 at ¶¶ 12-14, 90-147; Dkt. 16-3 at ¶¶ 12-14, 90-147.
 27
    Papagolos, 2012 U.S. Dist. LEXIS 205848, at *4.

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 alleged harassment that she herself experienced, rather than the broad generalizations of

 harassment in the workplace experienced by others.”28 Accordingly, this Court should not consider

 the allegations of other employees as they do not affect or concern Plaintiff’s sexual harassment

 claims. None of the allegations contained in Paragraphs 12 to 14 and 90 to 147 of the FAC or the

 SAC mention Plaintiff or the harassment that she is alleged to have experienced, or alleged

 harassment in her workplace, so they have no bearing on the case at hand. And references to

 allegations that Plaintiff could have included in her FAC and the proposed SAC but chose to omit

 should in no way factor into the Court’s determination of whether Plaintiff’s claims must be

 dismissed pursuant to Rules 8 and/or 12(b)(6).29

          The same is true for Plaintiff’s inclusion of alleged tweets by Thomas Giallonardo III.30

 The @LeroyGuillot Twitter account has no relevance to the instant case because it is a private,

 personal, non-work-related account that does not mention or reference Plaintiff or Huddle House.

 Further, the alleged screenshots of the account pasted into the FAC were pulled from unknown

 internet archive websites and not Twitter, so their provenance is unknown.31 The one case that

 Plaintiff cites in her Opposition to support her argument that the @LeroyGuillot tweets are relevant

 is distinguishable because the statements at issue in Sherif v. Astrazeneca, L.P., concerned the

 promotion of the female plaintiff over a male candidate because of the “overall dealing with




 28
    Belcher v. Fluor Enters., No. 4:10-cv-3475, 2013 U.S. Dist. LEXIS 18342, 2013 WL 499858, at *24 (S.D. Tex.
 Feb. 8, 2013) (citing Celestine v. Petroleos, 108 F. App’x 180, 188 (5th Cir. 2004); Septimus v. Univ. of Houston, 399
 F.3d 601, 612 (5th Cir. 2005) (evidence about harassment of others not relevant because plaintiff did not personally
 experience such conduct)).
 29
    See Dkt. 19 at pp. 5-6. This is yet another example of Plaintiff’s attempt to sensationalize her pleadings. She chose
 not to include certain allegations in her FAC, and whether or not they are “potentially relevant” has no bearing on the
 issues raised by Defendants in their Motion to Dismiss. Plaintiff admits that “Plaintiff’s counsel chose to keep the
 complaint focused specifically on gender discrimination rather than other forms of legally-prohibited discrimination,
 and omitted those allegations,” so the Court should not consider unpled allegations any more than it should consider
 the improperly pled allegations purposely included in the FAC.
 30
    Dkt. 5 at ¶¶ 195-208; Dkt. 16-3 at ¶¶ 227-240.
 31
    Dkt. 5 at ¶¶ 201-203.

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 females in the organization,” were made by the former President and CEO of the entity that

 employed the plaintiff and related directly to her employment.32 That is simply not the case with

 the @LeroyGuillot tweets. Plaintiff has not alleged that Thomas Giallonardo III showed her tweets

 from the @LeroyGuillot Twitter account, that she followed that account or that there were

 discussions about the account—with Thomas Giallonardo III or any other individuals—while she

 was working at the Huddle House.

 III.     CONCLUSION

          Defendants reassert their request that the Court grant their Motion to Dismiss, dismissing

 Plaintiff’s claims against them with prejudice pursuant to Rules 8 and 12(b)(6).33

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 4836-3585-5071, v. 4




 32
    Sherif v. Astrazeneca, L.P., No.. 00-3285, 2002 U.S. Dist. LEXIS 5767, 2002 WL 511501, at *5-7 (E.D. Pa. Apr.
 3, 2002).
 33
    Fed. R. Civ. P. 8, 12(b)(6); see generally Dkt. 7-1.

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